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                            IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF UTAH CENTRAL DIVISION



    UNITED STATES OF AMERICA,                             MEMORANDUM DECISION AND
                                                          ORDER GRANTING MOTION TO
                    Plaintiff,                            QUASH SERVICE OF SUMMONS

    v.
                                                          Case No: 2:06-CR-169 DB
    JOHNSON MATTHEY PLC, JOHNSON
    MATTHEY, INC., JOHN DAVID                             District Judge Dee Benson
    MCKELVIE, and PAUL CARD GREAVES,
                                                          Magistrate Judge David Nuffer
                    Defendants.


            This matter was referred to Magistrate Judge David Nuffer by District Judge Dee Benson

pursuant to 28 U.S.C. § 636 (b)(1)(A).1 Before the court is Motion to Quash Service of

Summons on Indictment by Defendant Johnson Matthey Plc (JM Plc).2

            Defendant John Matthey, Inc. (JM Inc) is a wholly-owned subsidiary of Johnson Matthey

Holdings, Inc. whose parent company is Defendant JM Plc.3 JM Plc is incorporated under the

law of England and Wales and with its principal place of business in London, England.4 JM Plc

asserts that it has not been effectively served by the government under Rule 4 of the Federal

Rules of Criminal Procedure. JM Plc further argues that in this criminal case, service of process

upon it cannot be accomplished under Rule 4 and the government must turn to a different source

1
 Order Referring Case, docket no. 67.

2
 Motion to Quash Service Of Summons on Indictment, docket no. 60.

3
 Affidavit by David Firn, ¶ 3, docket no. 62; see also Memorandum in Opposition, Attachment 3 at 5, docket no. 64.

4
 Id. ¶ 4.
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to properly serve JM Plc, such as the Mutual Legal Assistance Treaty (MLAT) between the

United Kingdom and the United States.5

            In response, the government contends that it has properly served an officer and managing

agent and mailed copies of the summons to the corporation, as required by Rule 4.6

            Rule 4 of the Federal Rules of Criminal Procedure provides that:

                            A summons is served on an organization by delivering a
                     copy to an officer, to a managing or general agent, or to another
                     agent appointed or legally authorized to receive service of process.
                     A copy must also be mailed to the organization’s last known
                     address within the district or to its principal place of business
                     elsewhere in the United States.7


            The government claims that it properly served Defendant McKelvie in his role as either

an officer or managing agent for JM Plc.8 Although the record is clear that McKelvie was

formerly an officer of the other corporate defendant, JM Inc,9 it is unclear whether he was ever an

officer or agent for JM Plc. Regardless of his former position, it is undisputed that McKelvie has

been on administrative leave from his position with JM Inc since May 2005.10 Therefore, at the

time he was served in 2007, McKelvie had no authority to act on behalf of JM Inc or the parent

company, JM Plc.


5
    Memorandum in Support of Motion to Quash at 5, docket no. 61; Reply Memorandum at 9, docket no. 68.

6
    Memorandum in Opposition at 14.

7
    Fed. R. Crim. P. 4(c)(3)(C).

8
    Memorandum in Opposition at 6-10.

9
    Affidavit by David Firn, ¶ 5.

10
    Id. ¶ 6; Attachment 5 to Memorandum in Opposition.

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            The government also claims that it properly served Grant Angwin as a managing agent

for JM Plc.11 Angwin is the acting site General Manager12 or current Business Manager13 for JM

Inc at the Salt Lake Facility. There is no evidence that Angwin is an agent for the parent

company JM Plc. Consequently, the government has failed to JM Plc “by delivering a copy [of

the summons] to an officer, to a managing or general agent, or to another agent appointed or

legally authorized to receive service of process.”14

            The government asserts that it complied with the second part of Rule 4 by mailing a copy

of the summons to the last known address of JM Plc within the district or to its principal place of

business elsewhere in the United States by mailing a copy of the summons to the Salt Lake

refinery run by JM Inc and to JM Inc in Wayne, Pennsylvania. However, as previously noted,

JM Inc is a wholly-owned subsidiary of parent company JM Plc15 and service upon the subsidiary

is not sufficient service on the parent company.16 The government has failed to properly serve



11
     Memorandum in Opposition at 11-12.

12
     Id., Attachment 5.

13
     Affidavit by David Firn, ¶ 12.

14
     Fed. R. Crim. P. 4(c)(3)(C).

15
     Affidavit by David Firn, ¶ 3; Memorandum in Opposition, Attachment 3 at 5.

16
  See Benton v. Cameco Corp., 375 F.3d 1070, 1081 (10 th Cir. 2004) (“‘[A] holding or parent company has a
separate corporate existence and is treated separately from the subsidiary in the absence of circumstances justifying
disregard of the corporate entity.’” (quoting Quarles v. Fuqua Indus., Inc., 504 F.2d 1358, 1362 (10 th Cir. 1974) ;
Davies v. Jobs & Adverts Online, Gmbh, 94 F.Supp.2d 719, 722-23 (E.D.Va. 2000) (“[S]ervice of process on a
foreign defendant's wholly-owned subsidiary is not sufficient to effect service on the foreign parent so long as the
parent and the subsidiary maintain separate corporate identities.”).




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Defendant JM Plc in this criminal case under either requirement of Rule 4. Accordingly, the

service of summons on the indictment is quashed.

                                           ORDER

        IT IS HEREBY ORDERED that the Motion to Quash Service of Summon on Indictment17

is GRANTED and service of the summons is QUASHED.

        IT IS FURTHER ORDERED that the arraignment hearing for JM Plc, previously

scheduled for Thursday, March 1, 2007 at 9:45 a.m. is VACATED.



February 26, 2007.

                                           BY THE COURT:



                                           _____________________________
                                           David Nuffer
                                           U.S. Magistrate Judge




17
 Docket no. 60.

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